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                              UNITED STATES DISTRICT COURT

                             WESTERN DISTRICT OF LOUISIANA

                                       MONROE DIVISION

 UNITED STATES OF AMERICA                               CR. A. NO. 95-30024-03

 VERSUS                                                 JUDGE ROBERT G. JAMES

 TERRY ELMORE                                           MAG. JUDGE KAREN L. HAYES


                                               ORDER

        Because of the recent revision to the base offense levels for crack cocaine, Section 2D1.1 of

 the United States Sentencing Guidelines, this matter will be considered for re-calculation of sentence

 pursuant to 18 U.S.C. § 3582(c)(2). All cases falling under 18 U.S.C. § 3582(c)(2) will be

 considered in order of the current release date of each defendant, with the cases of those defendants

 who are closest to their release dates considered first.

        IT IS ORDERED that the Office of the Public Defender is appointed to represent all

 defendants who are potentially affected by the revisions to the Sentencing Guidelines on crack

 cocaine. If a defendant retains private counsel, that counsel should enroll immediately and will be

 subject to the provisions of this Order.

        Having reviewed the Probation Office’s re-calculation of the applicable Guideline range of

 imprisonment and the record in this matter, including the Pre-Sentence Report, the Court finds that

 Defendant Terry Elmore was sentenced to 262 months of imprisonment on Counts 1 and 8, to run

 concurrently. The Court intends to issue an Amended Judgment reducing Defendant’s term of

 imprisonment to 240 months on Count 1 and 210 months on Count 8, to run concurrently. It is the

 intent of the Court that Defendant serve a total of 240 months imprisonment. Therefore,

        IT IS FURTHER ORDERED that the United States Attorney’s Office and the attorney
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 representing the defendant shall file within 60 days of their receipt of this Order a notice stating (1)

 whether a hearing is requested or waived and (2) whether there are any objections to the re-

 calculation and/or to the Court’s proposed term of imprisonment.

         It is the intent of the Court to address every defendant potentially affected by these Guideline

 revisions and to do so in as prompt a manner as possible.

         MONROE, LOUISIANA, this 4th day of April, 2008.




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